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                       UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ART AKIANE LLC,                               )
                                              )
         Plaintiff,                           )
                                              )       Case No. 19-cv-02952
v.                                            )
                                              )       Judge Edmond E. Chang
ART & SOULWORKS LLC,                          )
CAROL CORNELIUSON,                            )       Mag. Judge Jeffrey Cole
CARPENTREE, LLC, and                          )
VIRGINIA HOBSON,                              )
                                              )
         Defendants.                          )

                           JOINT STIPULATION OF DISMISSAL

         Cross-Plaintiffs CTree, LLC (f/k/a Carpentree, Inc., and Carpentree, LLC) and Virginia

Hobson (the “Carpentree Parties”) and Cross-Defendants Art & Soulworks, LLC and Carol

Corneliuson acting through their respective counsel, and pursuant to Federal Rule of Civil

Procedure 41(c) hereby stipulate and move for the Dismissal with Prejudice of the Cross-Claims

brought by the Carpentree Parties against Art & Soulworks, LLC and Carol Corneliuson in this

action, with each party to bear its own attorney’s fees and costs.


Dated: February 19, 2022

Respectfully submitted,

         C-TREE, LLC and                                     ART & SOULWORKS LLC and
         VIRGINIA HOBSON                                     CAROL CORNELIUSON

         By: /s/ Michael L. Hahn                             By: /s/ Nicole Nehama Auerbach
         One of their Attorneys                              One of their Attorneys
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                               CERTIFICATE OF SERVICE


       I hereby certify that on February 19, 2022, the foregoing was filed with the Clerk of Court

via the ECF system, which provided notice of same to all parties and/or counsel who have made

an appearance in this case.

                                                    /s/ Michael L. Hahn




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